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 Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 NICHOLAS ROZANSKY – Bar No. 219855
 SUSAN K. SEFLIN - Bar No. 213865
 JESSICA L. BAGDANOV - Bar No. 281020
 BRUTZKUS GUBNER
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  jbagdanov@bg.law



     Individual(s) appearing without attorney
     Attorney(s) for: Chapter 11 Debtor Koi Design LLC

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                    CASE NO.: 2:19-bk-10762-NB
                                                                           CHAPTER: 
KOI DESIGN LLC,

                                                                                          CHAPTER 11 STATUS
                                                                                      CONFERENCE REPORT (INITIAL)


                                                                           Case Status Conference
                                                                           DATE: 03/05/2019
                                                                           TIME: 2:00 pm
                                                                           COURTROOM: 1545
                                                           Debtor(s).


                                             INSTRUCTIONS TO THE DEBTOR(S)

(1) Keep your answers brief but informative (use continuation sheets if necessary, numbered to match the items in
    WKLVUHSRUW
(2) Do not use this form (a) for later status reports, which should include only short updates, or (b) if the judge presiding
    over this case requires the use of a different procedure.
(3) You must file and serve this report at least 14 days before the status conference listed above. Serve it on the Office
    of the United States Trustee and on any parties requesting special notice, or as otherwise directed by the court.
(4) Failure to follow these instructions may result in dismissal of this case or other sanctions without further notice.

Definitions: "Section" ("§") refers to a section of the Bankruptcy Code, Title 11 of the United States Code (11 U.S.C.); a
"Rule" means one of the Federal Rules of Bankruptcy Procedure; "LBR" means the Local Bankruptcy Rules; and other
terms have the meanings provided in the Bankruptcy Code, the Rules, and the LBR.




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        A. OVERVIEW

        1. Bankruptcy Petition                                                Date filed:                     1/25/2019

        2. Background and Exit Strategy (discuss all                          Explain:
           below)                                                             See Continuation Page
           a. The Debtor’s business/employment;
           b. principal assets/ liabilities (including
               possible avoidance actions, environmental
               liabilities, etc.);
           c. what caused the bankruptcy;
           d. exit strategy (for resolving the principal
               financial and legal issues); and
           e. progress made toward consensual
               resolution of any disputed issues.
            Example: “the Debtor owns a four-unit
            apartment building worth approx. $_______, 1st
            deed of trust approx. $_______, 2nd deed of
            trust approx. $________. The Debtor lives in
            one unit and is employed as building manager.
            Two tenants stopped paying rent. Debtor plans
            to complete evictions, obtain paying tenants,                         See attached continuation page(s).
            and strip off second deed of trust."
        3. Petition Document Compliance
                                                                                  No (explain):
           a. Has the Debtor filed all bankruptcy
               schedules, the Statement of Financial                          a. The Debtor has not filed its schedules and
               Affairs (“SOFA”), and all other documents                      SOFA. The Debtor has an extension until
               required by 11 U.S.C. § 521, Rule 1007,                        February 22, 2019 to file its schedules and SOFA
               and LBR 1007-1 (e.g., any tax returns
                                                                              [See, Order Granting Motion for Entry of Order
               required by 11 U.S.C. § 521(f), with social
               security numbers, names of minor children,                     Extending Time to File Schedule of Assets and
               and other sensitive information blacked out                    Liabilities and Statement of Financial Affiars.
               per 11 U.S.C. § 107, § 112, or Rule 9018?);                    b. The Debtor has filed its 7 day package with the
               and                                                            UST. The Debtor has an extension until March 1,
           b. has the Debtor complied with all applicable                     2019 to file its January Monthly Operating Report.
               guidelines established by the U.S. Trustee?
                                                                                  See attached continuation page(s).
                 Yes




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Continuation Page 
 
A. Overview 
 
          2. Background and Exit Strategy: 
 
                    a.       The Debtor’s business / employment: 
          The Debtor manufactures and sells clothes, which sales are concentrated in the high fashion 
“work clothes” of the garment business.  The Debtor primarily manufactures and sells “scrubs” for 
professionals employed in the medical industry.  The Debtor’s products are available through on‐line 
sales and from various retail business operations such as Amazon, Uniform Advantage, and Scrubs & 
Beyond.  The Debtor is one of the only independently owned and woman‐run companies in this 
industry.  The Debtor employs approximately 45 employees, plus ten (10) sub‐contractors.  In addition, 
the Debtor employees approximately 20 warehouse employees who are directly compensated through 
various staffing agencies. 
           
                    b.       Principal assets / liabilities (including possible avoidance actions, etc.) 
          The Debtor’s principal assets are: (i) its accounts receivable (approximately $3 million as of the 
petition date); (ii) its inventory (approximately $7 million as of the petition date).  The Debtor’s primary 
liabilities are: (i) its secured debt owed to Wells Fargo (approximately $2.8 million as of the petition 
date); (ii) a $5.2 million judgment (the “Default Judgment”) obtained Strategic Partners, Inc. (“SPI”) and 
related lien; and (iii) approximately $6.5 million of general unsecured debt.  The Debtor is in the process 
of attempting to vacate the Default Judgment, and the Debtor intends on seeking to avoid the lien 
obtained by SPI during the preference period.   
           
                    c.       What caused the bankruptcy? 
          As explained more fully in other pleadings filed with this Court, the Debtor submits that the 
Default Judgment was entered against it as a direct result of numerous gross error and intentional 
misconduct of the Debtor’s former counsel.  On or about December 20, 2018, the Debtor’s pre‐petition 
secured lender, Wells Fargo, ceased making advances to it under a pre‐petition credit facility due to a 
judgment lien obtained by SPI in connection with the Default Judgment.  While the Debtor was in the 
process of attempting to vacate the Default Judgment, the Debtor ran out of operating funds and was 
forced to commence this case while it seeks to vacate (and/or appeal) the Default Judgment.    
           
                    d.       Exit strategy (for resolving the principal financial and legal issues. 
          The Debtor expeditiously sought (and obtained) relief from the automatic stay from this Court in 
order to pursue its motion to vacate the Default Judgment.  If the Default Judgment is vacated or 
otherwise overturned, the Debtor’s strategy for resolving this bankruptcy case will change.  Therefore, it 
is difficult for the Debtor to provide an accurate exit strategy at this time.  If the motion to vacate the 
Default Judgment is granted, then the Debtor will move forthwith to file and confirm its plan of 
reorganization.  
  
                    e.       Progress made toward consensual resolution of any disputed issues. 
          The Debtor has recently reached a consensual agreement with its pre‐petition secured lender 
Wells Fargo regarding debtor in possession financing.  The Debtor has conveyed to counsel for SPI that it 
would be willing to enter into settlement discussions (and pre‐petition the Debtor made a settlement 
offer to SPI that was not responded to).  The Debtor does not know if SPI is willing to discuss a 
consensual resolution of  
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        B. COMMON “FIRST DAY” MATTERS

        1. Cash Collateral Use (11 U.S.C. § 363(c))                               No, other reason (explain):
           a. Did the Debtor file a stipulation/motion for
              use of cash collateral (see local form
              F 2081-2.1.MOTION.CASH.COLLATERAL)
              with local form F 4001-2.STMT.FINANCE?
                  Yes
           b. Did the court approve the requested use of
              cash collateral?
                  Yes (see Order at docket no. 29 ).

                       No, there is no cash that any entity can
                       claim as its cash collateral.                              See attached continuation page(s).

        2. Budget motion                                                          No, other reason (explain):
           Has the Debtor filed a budget motion? See
           Local Form F 2081-2.2.MOTION.BUDGET.
                 Yes
                 No, not required by the presiding
                                                                                  See attached continuation page(s).
                 judge's procedures

        3. Insider compensation and transfers                                     Yes (explain):
           Has the Debtor paid any compensation or
           made any other transfers after this case was                      The Debtor served its notices of insider
           filed to or for the benefit of:                                   compensation on February 5, 2019. The Debtor
                (1) Any insider,                                             has not received any objections. The fifteenth day
                (2) Any owner, partner, officer, director or                 after service of the notice is February 20, 2019.
                     shareholder of the Debtor, or
                (3) Any relative of an insider (as defined in
                     11 U.S.C. § 101(31))
           except as permitted per LBR 2014-1 and Form
           USTLA-12?
                No                                                                See attached continuation page(s).

        4. Automatic stay (11 U.S.C. § 362(c)(3)&(4))                             Other (explain):
           Is the Debtor an individual who has had one or
           more bankruptcy cases dismissed within 1 year
           before this case was filed?
                 No; or
                Yes, and, for one qualifying dismissal, the
            Debtor will have “completed” a hearing to
            continue the automatic stay within 30 days after
            this case was filed under § 362(c)(3); or
                Yes, and, for two or more qualifying
            dismissals, the Debtor will have filed a motion
            to impose the stay within 30 days after this                          See attached continuation page(s).
            case was filed, under § 362(c)(4). See LBR
            4001-2(e), and Local Form F 4001-
            1.IMPOSE.STAY.MOTION.




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        B. COMMON “FIRST DAY” MATTERS

        5. Utilities (11 U.S.C. § 366) (see Local Form F
                                                                                  No, other reason (explain):
           2081-2.4.MOTION.UTILITIES)
                Was a utility motion:
                (1) Filed within 20 days after this case was
                    filed and
                (2) Set for hearing within 30 days after this
                    case was filed?
               Yes

                 No, the Debtor has determined that no
                 utility motion is needed                                         See attached continuation page(s).




        C. LIEN AVOIDANCE                        Check here and skip this section if the Debtor does NOT contemplate
                                                 any lien avoidance.

        1. “Lien Stripping”                                                       Yes (explain):
           Does the Debtor intend to avoid any unsecured
           or under-secured liens under 11 U.S.C. § 506
           (including motions per In re Lam, 211 B.R. 36
              th
           (9 Cir. BAP 1997)(“Lam motions”))?
                 No                                                               See attached continuation page(s).

        2. Judicial Liens (see Local Form F 4003-                                 Yes (explain):
           2.1.AVOID.LIEN.RP.MOTION and 4003-
           2.2.AVOID.LIEN.PP.MOTION)                                          The Debtor does not intend to avoid any lien
           Does the Debtor intend to avoid any judicial                       pursuant to 11 U.S.C. § 522(f) but does intend to
           liens under 11 U.S.C. § 522(f)?                                    avoid the lien of Strategic Partners, Inc.
               No
                                                                                  See attached continuation page(s).




       D. PROFESSIONALS (see Local Forms F 2014-1.STMT.DISTINTEREST.PROF (statement of
            disinterestedness), F 2081-2.5.MOTION.EMPLOY.GEN.COUNSEL, and
            F 2081-2.5.MOTION.EMPLOY.OTHER)
         Professional’s Name              Employment App. Filed               Employment Approved                 Type of Employment

       Brutzkus Gubner                   February 15, 2019                  Pending                            11 U.S.C. § 327(a)
                                                                                                               General Bankruptcy
                                                                                                               Counsel

       Broadway Advisors                 To be filed.                       N/A                                11 U.S.C. § 327(a)
                                                                                                               financial advisor




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       D. PROFESSIONALS (see Local Forms F 2014-1.STMT.DISTINTEREST.PROF (statement of
            disinterestedness), F 2081-2.5.MOTION.EMPLOY.GEN.COUNSEL, and
            F 2081-2.5.MOTION.EMPLOY.OTHER)
         Professional’s Name              Employment App. Filed               Employment Approved                 Type of Employment

       Cohn Handler Sturm                To be filed                        N/A                                11 U.S.C. §§ 327(a) and
                                                                                                               328(a) (pre-petition
                                                                                                               accountant)

           See attached continuation page(s)
       EXAMPLES:
       John Doe, Esq.                    1/1/2050                           1/7/2050                           11 U.S.C § 327(a)
                                                                                                               general bankruptcy
                                                                                                               counsel
       Jane Roe et al., LLP              1/4/2050 to UST, app. to
                                                                                                               11 U.S.C. §§ 327(e) &
                                         be filed
                                                                                                               328(a) (special counsel,
                                                                                                               contingent fee, contract
                                                                                                               dispute)
       Richard Poe,                      1/3/2050                           Pending
                                                                                                               11 U.S.C. § 327(a)
       Accountant
                                                                                                               (accountant)




        E. PROPOSED DEADLINES / PROCEDURES
        1. Proofs of claim filing deadline
                                                                             Proposed claims filing bar date: 05/17/19
                                                                                                              __/__/__
           The court will address the deadline to serve a
           bar date notice at the status conference.

        2. Plan of reorganization (or liquidation)
           The court will address plan-related procedures
                                                                             Proposed deadline to file a proposed plan and
           at the status conference. Debtor should be
                                                                             disclosure statement: __/__/__
                                                                                                   08/02/19
           prepared to discuss time estimates for filing a
           proposed plan and disclosure statement.

        3. Special Plan Procedures                                                Yes (explain):
           Does the Debtor propose special procedures in
           connection with any plan or disclosure                            The Debtor is contemplating this procedure but will
           statement, such as a combined hearing on final                    know more after the District Court has ruled on the
           approval of the disclosure statement and                          pending Motion to Vacate Default Judgment.
           confirmation of the plan (11 U.S.C
           § 105(d)(2)(B)(vi))?
                 No                                                               See attached continuation page(s).




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        NOTE TO THE DEBTOR: YOU MUST ANSWER ALL APPLICABLE QUESTIONS ON THE ATTACHED
        PAGES, which deal with very important but less common issues in Chapter 11 cases, such as more "first
        day" matters, and cases that might be "single asset real estate" cases, or involve "small businesses," or
        "health care businesses".


              02/19/2019
        Date: _____________                                           Respectfully submitted,


                                                                      /s/ Susan K. Seflin
                                                                      Signature of: (1) Debtor’s Attorney or (2) Debtor(s)

                                                                      Susan K. Seflin
                                                                      Printed name




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                                              PART II: ADDITIONAL QUESTIONS

        INSTRUCTIONS: The following matters may not apply in every case, but are very important if they
        apply to your case. You must complete every section.


        A. LEASES AND CONTRACTS                      Check here and skip this section if the Debtor is NOT a
             party to any unexpired leases or unexpired (“executory”) contracts (e.g., if the Debtor is a landlord or
             a tenant).
        NOTE: This Status Report is a statement of the Debtor’s present intention. It is not equivalent to a motion
        (if one is required).

        1. Lease or contract (describe):                                     Intention:
         Non-residential real property lease                                     Reject
         Stanford/Nebraska Properties, Ltd. (for Debtor's                        Assume
         headquarters - office / warehouse)                                      Assume and assign (per 11 U.S.C. § 365)
                                                                                 Other (explain):


            See attached continuation page(s).                                   See attached continuation page(s).

        2. Lease or contract (describe):                                     Intention:
         Various equipment leases: (a) equipment lease                           Reject
         with MailFinance (postage machine), (b)                                 Assume
         equipment lease with Wells Fargo Equipment                              Assume and assign (per 11 U.S.C. § 365)
         Finance (forklifts), and (c)service/supplies contract                   Other (explain):
         with US Bank Equipment Finance(copiers/printers)

            See attached continuation page(s).                                   See attached continuation page(s).

        3. Lease or contract (describe):                                     Intention:
         The Debtor has various license agreements which                         Reject
         the Debtor has not yet determined if they are                           Assume (if applicable)
         executory or not. The Debtor does intend on                             Assume and assign (per 11 U.S.C. § 365)
         continuing to perform under its license                                 Other (explain):
         agreements.

            See attached continuation page(s).                                   See attached continuation page(s).




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        B. ADDITIONAL “FIRST DAY” MATTERS                         Check here and skip this section if there are
            NO “first day” matters (caution: double-check the types of motions listed below and read LBR 2081-
            1).

        1. Immediate Payment of Payroll
                                                                                  Yes (explain):
           Does the Debtor need to pay prepetition
           payroll/benefits (see Local Form F 2081-                           The Debtor filed its motion to pay prepetition
           2.3.MOTION.PAYROLL)?                                               payroll/benefits [Doc. #3], which was approved on
               No, the Debtor does not have                                   an interim basis [Doc. #28].
            employees/qualified independent contractors;
            or                                                                    See attached continuation page(s).
                 No, the Debtor’s workers were paid in full in
                 cash at the time this case was filed.

        2. Debtor-in-Possession (DIP) Financing                                    Yes (explain):
           Does the Debtor contemplate seeking post-                          The Debtor expects to file a motion to approve DIP
           petition financing (11 U.S.C. § 364)?
                                                                              financing with Wells Fargo shortly.
                 No
                                                                                  See attached continuation page(s).

        3. Bank Accounts and Cash Management                                       Yes (explain):
           Is the Debtor seeking authority to maintain pre-                   The Debtor has filed a motion to maintain
           petition bank accounts, or approval of any other
                                                                              prepetition bank accounts [Doc. #6]
           cash management system?
                 No                                                               See attached continuation page(s).

        4. Extension to File Petition Documents                                    Yes (explain):
           Will the Debtor seek more time to file                             The Debtor has an extension until February 22,
           bankruptcy schedules (“Schedules”) or
                                                                              2019 [Doc. #56]
           Statement of Financial Affairs (“SOFA”)?
                 No (not necessary)                                               See attached continuation page(s).

        5. Special Noticing procedures                                             Yes (explain):
           Will the Debtor seek to limit notice (or establish
           special noticing procedures)?
                 No
                                                                                  See attached continuation page(s).

        6. Customer Deposits                                                     Yes (explain):
           Will the Debtor seek authority to honor                            The Debtor may seek authority to honor customer
           customer deposits/obligations?                                     credits (if necessary).
                 No                                                              See attached continuation page(s).

        7. Reclamation Claims                                                      Yes (explain):
           Will the Debtor seek procedures for handling                       Most likely not. The Debtor has received one
           reclamation claims (including claims under 11
                                                                              reclamation claim so far.
           U.S.C. §§ 503(b)(9) & 546(c))?
                 No                                                               See attached continuation page(s).




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        8. Omnibus Hearings                                                        Yes (explain):
           Will the Debtor seek regularly scheduled
           omnibus hearing dates?
                 No
                                                                                  See attached continuation page(s).

        9. Immediate Payment of Taxes                                              Yes (explain):
           Will the Debtor seek authority to pay taxes
           incurred before this case was filed?
                 No
                                                                                  See attached continuation page(s).

        10. Sale Procedures                                                        Yes (explain):
            Does the Debtor contemplate selling assets out
            of the ordinary course of business (see LBR
            6004-1)?
                 No                                                               See attached continuation page(s).


        11. Employee Incentive/Severance Plans                                     Yes (explain):
            Will the Debtor seek to use incentive or
            severance plans for employees?
                 No
                                                                                  See attached continuation page(s).

        12. Joint Case Administration                                              Yes (explain):
            Will the Debtor seek joint administration of this
            case with another case?
                 No, there is no related case.
                                                                                  See attached continuation page(s).

        13. Claims/Noticing Agent Appointment                                      Yes (explain):
            Will the Debtor seek appointment of a
            claims/noticing agent (see Local Form F 5075-
            1.1)?
                 No                                                               See attached continuation page(s).


        14. Confidential Information                                              Yes (explain):
            Will the Debtor seek approval of an information
            access protocol under 11 U.S.C. § 1102(b)(3),                     The Debtor make see to file certain documents
            or to file documents under seal (see LBR 5003-                    under seal if necessary.
            2(c))?
                 No                                                               See attached continuation page(s).

        15. Special Committees                                                    Yes (explain):
            Are special committees needed (e.g., retirees)
            (11 U.S.C. §§ 1102(a)(2), 1114(d)); or, if this is
            a small business case, should the court order
            that no committee be appointed (11 U.S.C.
            § 1102(d))?
                                                                                  See attached continuation page(s).
                 No




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        16. Other First Day Motions                                               Yes (explain):
            Does the Debtor contemplate any other “first
            day” motions (whether or not listed in LBR
            2081-1) – e.g., a “critical vendor” motion?
                 No                                                               See attached continuation page(s).



        C. CONSUMERS’ CONFIDENTIAL INFORMATION                                Check here and skip this section if
            (a) the Debtor does NOT have possession, custody, or control of consumers’ confidential information
            (e.g., “personally identifiable information” per 11 U.S.C. § 101(41A)) and (b) that cannot be
            reasonably disputed (if it could be disputed, explain below).

        1. Privacy Ombudsman Appointment                                         No (explain):
           Should a “consumer privacy ombudsman” be                          The Debtor's customers are primarily
           appointed (11 U.S.C. § 332)?                                      businesses/corporations.
                 Yes                                                             See attached continuation page(s).

        2. Costs of Record Maintenance or
                                                                                  Explain:
           Destruction
           How will the Debtor arrange and pay for the
           maintenance, transfer, or destruction of
           consumers’ confidential information?                                   See attached continuation page(s).




        D. SINGLE ASSET REAL ESTATE (“SARE”) CASE                               Check here and skip this section
            if (a) this is NOT a “single asset real estate” case (11 U.S.C. § 101(51B)) and (b) that cannot be
            reasonably disputed (if it could be disputed, explain below).

        1. Interest Payments to Secured Creditor(s)                               Explain:
           Has the Debtor commenced paying postpetition
           interest to secured creditor(s), at the non-
           default interest rate, on the value of their
           interest in the real estate?
                Yes
                 No, but the Debtor will do so within 90                          See attached continuation page(s).
                 days after the commencement of this case.

        2. Plan Filing                                                            Explain:
           Has the Debtor filed “a plan of reorganization
           that has a reasonable possibility of being
           confirmed within a reasonable time” within the
           meaning of 11 U.S.C. § 362(d)(3)?
                Yes
                 No, but the Debtor will do so within 90                          See attached continuation page(s).
                 days after the commencement of this case.




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Continuation Page 
 
C. Consumers’ Confidential Information 
 
        The Debtor’s customers are primarily businesses/corporations. However, the Debtor does 
maintain a consumer mailing list for marketing purposes only that includes individuals’ names, 
addresses and e‐mail addresses.  The Debtor does not foresee any reason why this information would 
be shared during its bankruptcy case with any party.  If that changes due to circumstances in the 
Debtor’s bankruptcy case, the Debtor will inform the Court forthwith. 
 
 
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        E. SMALL BUSINESS               Check here and skip this section if (a) the Debtor is NOT a “small
            business debtor” (11 U.S.C. § 101(51D)) and (b) that cannot be reasonably disputed (if it could be
            disputed, explain below).

        1. Small Business Duty Compliance                                         No (explain):
           Has the Debtor complied with all the duties in
           11 U.S.C. § 1116 (including but not limited to
           maintaining adequate insurance and filing its
           most recent balance sheet, statement of
           operations, cash-flow statement, and Federal
           income tax return)?
                  Yes                                                             See attached continuation page(s).

        2. United States Trustee Inspection                                       No (explain):
           Has the United States Trustee inspected the
           Debtor’s books, records and business premises
           (per 11 U.S.C. § 1116(7))?
                                                                                  See attached continuation page(s).
                  Yes

        3. United States Trustee Interview                                        No (explain):
           Has the Debtor completed the “initial debtor
           interview” with the United States Trustee (28
           U.S.C. § 586(a)(7))?
                                                                                  See attached continuation page(s).
                  Yes

        4. Report Scheduling                                                      Monthly
           What schedule does the Debtor propose for                              Other (explain):
           filing the “periodic financial and other reports”
           required by 11 U.S.C. § 308 (e.g., monthly with
           MORs)?
                                                                                  See attached continuation page(s).

        5. Automatic Stay                                                         No (explain):
           Is the automatic stay applicable? See 11
           U.S.C. § 362(n)(1) (which might eliminate the
           automatic stay if the Debtor was previously a
           small business debtor, or acquired substantially
           all of the assets or business of a small business
           debtor)?
                Yes, the automatic stay applies.
                 No, the automatic stay does not apply, but
                 the Debtor will seek relief under 11 U.S.C.                      See attached continuation page(s).
                 § 362(n)(2).




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        F. HEALTH CARE BUSINESS                   Check here and skip this section if (a) the Debtor is NOT a
            “health care business” (11 U.S.C. § 101(27A)) and (b) that cannot be reasonably disputed (if it could
            be disputed, explain below).

        1. Patient Care Ombudsman                                                  Yes (explain):
           Is appointment of a patient care ombudsman
           required (11 U.S.C. § 333)?
                 No
                                                                                  See attached continuation page(s).

        2. Costs of Patient Care or Transfer                                      Explain:
           How will the Debtor arrange and pay for proper
           care or transfer of any patients, in the event
           that the Debtor’s health care business is closed
           (see 11 U.S.C. § 704(a)(12), incorporated by
           11 U.S.C. § 1106(a)(1))?                                               See attached continuation page(s).



        G. EMPLOYEE BENEFIT PLANS                      Check here and skip this section if there is NO employee
            benefit plan (per 11 U.S.C. § 704(a)(11), incorporated by 11 U.S.C. § 1106(a)(1))?

        1. Debtor’s Plan Duties                                                   Yes (explain):
           Was the Debtor, or any entity designated by the
           Debtor, an “administrator” of such a plan as of                    The Debtor's CFO Jeremy Husk is the trustee on
           the commencement of this case?                                     the Debtor's 401(k) plan.
                 No                                                                See attached continuation page(s).

        2. Plan Administration                                                    Explain:
           What steps will the Debtor take to continue to
           administer such plan (11 U.S.C. §§ 521(a)(7),                      The Debtor will continue to operate its 401(k) plan
           704(a)(11), 1106(a)(1))?                                           in the ordinary course of business.

                                                                                   See attached continuation page(s).




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard St., Suite 500, Woodland Hills, California 91367


A true and correct copy of the foregoing document entitled: CHAPTER 11 STATUS REPORT (INITIAL) will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On February
19, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Jessica L Bagdanov jbagdanov@bg.law, ecf@bg.law
       Howard Camhi hcamhi@ecjlaw.com, tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com
       Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
       Dare Law dare.law@usdoj.gov
       Susan K Seflin sseflin@bg.law
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On February 19, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Office of the United States Trustee
Attn: Dare Law
915 Wilshire Blvd., Suite 1850
Los Angeles, CA 90017-3560                                                                  Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 19, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

*Via Email to Counsel for Wells Fargo: dfiorillo@otterbourg.com
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 19, 2019                 SUSAN K. SEFLIN                                              /s/ Susan K. Seflin
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
